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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

MARCUS LINTHECOME, ) CASE NO. ED CV 19-2228-JGB (PJW)
)
Petitioner, )
) ORDER DISMISSING HABEAS CORPUS
Vv. ) PETITION WITHOUT PREJUDICE AND
) DENYING CERTIFICATE OF
SHERIFF JOHN MCMAHON, ET AL., ) APPEALABILITY
)
Respondents. )
)

 

Petitioner is currently incarcerated at the High Desert Detention
Center in Adelanto, California, following his arrest in October 2019.
He has filed a Petition for Writ of Habeas Corpus, presumably pursuant
to 28 U.S.C. § 2241, challenging his detention on the grounds that the
charges against him are false and that he is the target of a criminal
conspiracy among state officials. For the following reasons, the
Petition is dismissed without prejudice.

As a general rule, federal courts do not intervene in ongoing
state prosecutions. Younger v. Harris, 401 U.S. 37, 45 (1971); Drury
v. Cox, 457 F.2d 764, 764-65 (9th Cir. 1972) (per curiam) (holding
that, except in the “most unusual circumstances,” a defendant is
barred from challenging his state prosecution in federal court before

the “judgment has been appealed from and the case concluded in the

 
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state courts.”). Though there are exceptions to this general rule,
where, for example, “special circumstances” warrant federal
intervention, see, e.g., Braden v. 30th Judicial Circuit Court Of
Kentucky, 410 U.S. 484, 489 (1973) (permitting petitioner to seek
enforcement of constitutional right to speedy trial three years after
he had been indicted in state court); Stow v. Murashige, 389 F.3d 880
(9th Cir. 2004) (upholding double jeopardy challenge brought by
pretrial detainee pursuant to § 2241), Petitioner has not shown any
such special circumstances here.

Further, although Petitioner contends that the state officials
have acted maliciously in prosecuting him, he has not demonstrated
that he will be unable to present a defense in the state proceedings
based on his allegations of misconduct. See Younger, 401 U.S. at 45

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(noting “[t]he accused should first set up and rely on his defense in
the state courts .. . unless it plainly appears that this course
would not afford adequate protection.”); see also King v. Horsley,
2003 WL 21692165, at *1 (N.D. Cal. July 16, 2003) (dismissing habeas
petition alleging petitioner’s due process rights were violated by
ongoing police and prosecutorial misconduct and use of false evidence
where petitioner had adequate opportunity to present his claims in
state proceedings).

For these reasons, the Petition is denied without prejudice and
the action is dismissed. Further, because Petitioner has not made a
substantial showing of the denial of a constitutional right or that

the Court erred in its ruling, a certificate of appealability will not

issue in this action. See 28 U.S.C. § 2253(c) (2); Fed. R. App. P.

 
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22(b); Miller-El v. Cockrell, 537 U.S. 322, 336 (2003); Slack v.
McDaniel, 529 U.S. 473, 484 (2000).
IT IS SO ORDERED

DATED: April 17, 2020

 

Presented by:

ATRICK J. H
UNITED STATES MAGISTRATE JUDGE

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